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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 JACQUELINE STEVENS,                                 )
                                                     )
                                   Plaintiff,        )
                                                     )
                                                         No. 21 C 2232
                        v.                           )
                                                     )
                                                         Judge Tharp
 U.S. IMMIGRATION AND CUSTOMS                        )
 ENFORCEMENT, et al.,                                )
                                                     )
                                   Defendants.       )

                            REPLY IN SUPPORT OF
                 DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

        Nothing in plaintiff Jacqueline Stevens’s response memorandum presents a reason to deny

summary judgment. The agencies have conducted adequate searches for responsive records and

have not improperly withheld any material. Summary judgment for the agencies is appropriate.

                                                 Argument

        The agencies are entitled to summary judgment in their favor. They have conducted

adequate searches for records responsive to Stevens’s requests and produced the responsive

records. They have properly withheld certain material that FOIA exempts from disclosure. And

for some of the requests at issue, Stevens did not exhaust her administrative remedies, as she

needed to do before filing suit.

I.      Adequate Searches

        As explained in the agencies’ opening memorandum, all seven agencies—ICE, CBP,

USCIS, EOIR, Navy, USDA, and State—have adequately searched for responsive records. Mem.

at 2-11. Stevens responds that the agencies have not adequately described their “recordkeeping

scheme,” which she says makes it “impossible” to determine whether the agencies searched the

databases likely to contain all responsive records. Resp. at 3. She says FOIA declarations must
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be “relatively detailed and non-conclusory,” Resp. at 3 (quoting Serv. Women’s Action Network v.

DoD, 888 F.Supp.2d 231, 240-41 (D. Conn. 2012)), and that they must “detail” the “general

scheme of the agency file system” and “the scope of the search and the search terms or methods

employed.” Resp. at 3. One might expect Stevens to support her argument by pointing to the parts

of the agencies’ declarations that she thinks are insufficiently detailed, but she does not even

attempt to do so. And even a cursory review of the agencies’ declarations shows that they are

detailed and non-conclusory. For example, Stevens asked USCIS for documents contained in

Nathan Anfinson’s “A-file,” and USCIS searched its file tracking system using Anfinson’s alien

number and produced the non-exempt material that the search yielded. DSOF ¶¶ 41-44. USCIS

searched for, found, and produced the requested A-file—what grievance Stevens might have with

that is hard to fathom.

       Stevens insists that, to be sufficient, an agency’s declaration must explain what databases

it maintains, how it selected which ones to search, and what types of records each database

contains. Resp. at 4. She cites three cases from the District of Connecticut where she says the

court rejected declarations that resemble the agencies’ declarations here, and she asks the court to

adopt the District of Connecticut’s approach, to “promote and accomplish” FOIA’s purpose. Resp.

at 4-5. But the Seventh Circuit has taken a different approach than the District of Connecticut,

approving of declarations that describe what was searched and explain that the locations were

determined by employees familiar with the recordkeeping systems. Compare Vietnam Veterans

v. DHS, 8 F.Supp.2d 188, 221 (D. Conn. 2014) (criticizing declaration that stated that “hard drives,

shared drives, and email accounts” were searched without explaining “whether there are other

electronic files which were not searched”) with Stevens v. State, 20 F.4th 337 (7th Cir. 2021)

(approving declaration that described the locations searched and asserted that officers “made

choices about what to search based on their familiarity with the holdings of the Department’s
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records system”) (internal quotation omitted).

       Here, the agency declarations satisfy the Seventh Circuit’s standard. See Def. Ex. A

(Schurkamp Decl.) ¶¶ 11 (ICE employees search the files that “in their judgment, based on their

knowledge of the way they routinely keep records, would reasonably likely be the files to contain

responsive documents”); Def. Ex. B (Howard Decl.) ¶ 7 (CBP employees assess “where responsive

records are likely to be contained” based on their “familiarity with the types and locations of the

records at issue, and discussions with knowledgeable Agency personnel”); Def. Ex. C (Munita

Decl.) ¶ 12 (explaining that the records Stevens requested would be in the person at issue’s A-file

and describing how USCIS searched for those A-files); Def. Ex. D (O’Hara Decl.) ¶ 8 (EOIR

employees search the file systems that “in their judgment, based on their knowledge of the manner

in which they routinely keep records, would be the file systems likely to contain responsive

records”); Def. Ex. E (Cason Decl.) ¶¶ 7-15 (explaining how Navy knew it had no responsive

records); Def. Ex. F (Graves Decl.) ¶¶ 7-11 (describing USDA’s analysis of which subcomponents

were likely to possess responsive records and averring that USDA searched all of those locations);

Def. Ex. G (Weetman Decl.) ¶ 10 (State “evaluates the request to determine which offices, overseas

posts, or other records systems within the Department may reasonably be expected to contain the

records requested,” which “requires a familiarity with the holdings of [its] record systems . . .”).

       Stevens also says that the agencies’ searches were “unduly restrictive,” but she does not

explain what was unduly restrictive about them other than string-citing her own responses to the

agencies’ statements of fact and her own statements of additional fact without explaining what is

in those statements. Resp. at 4. This is an improper attempt to evade Local Rule 7.1’s 15-page

limit by alluding to information contained in other documents without explaining what those

documents say. (Imagine if the agencies had moved for summary judgment and simply referred

the court to their declarations without explaining what the declarations say and why summary
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judgment is appropriate on the basis of them.) Judges “are not like pigs, hunting for truffles buried

in briefs.” United States v. Dunkel, 927 F.2d 955, 956 (7th Cir. 1991) (per curiam).

       Stevens also says that “several” agencies reported finding no records without explaining

how they reached that conclusion or identifying the search terms they used. Resp. at 5. She cites

Morley v. CIA, 508 F.3d 1108, 1122 (D.C. Cir. 2007), for the proposition that a declaration is

insufficient if it “merely identifies the three directorates that were responsible for finding

responsive documents without identifying the terms searched or explaining how the search was

conducted.” But instead of identifying which agencies supposedly did this, Stevens merely cites

DSOF ¶¶ 14, 24, 33-34, 38—inviting the court to do her work for her rather than explaining what

she is talking about. Regardless, none of the agencies here simply identified a component that

searched for records without explaining how it searched. For example, CBP searched its “TECS”

database using the name and date of birth that Stevens provided. DSOF ¶¶ 32-33.

       Stevens insists that, aside from USDA, the agencies have not identified the search terms

they used or “the process of using them.” Resp. at 6. This is demonstrably false. ICE explained

that for three of Stevens’s requests, it searched using various combinations of the name, alias, alien

number, date of birth, alias, and country of birth of the persons in question. DSOF ¶¶ 10, 13, 18.

And for the fourth request, ICE searched using the applicable business name, contract number, and

point-of-contact name. DSOF ¶ 23. Likewise, CBP searched using the name, date of birth, and

(when available) A-file number of the persons in question. DSOF ¶¶ 33, 38. USCIS searched

using the applicable alien numbers. DSOF ¶¶ 43, 49, 53, 55. In EOIR’s case, it actually extracted

the data that Stevens requested. DSOF ¶¶ 62-72. The reason the Navy did not search was because

the records Stevens requested are held by the National Archives and Record Administration.

DSOF ¶¶ 73-77. And the State Department searched using the name, date of birth, and place of

birth of the person in question. DSOF ¶ 88, 90-92.
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       Stevens also accuses the agencies of trying to prevent the court from “performing a judicial

review of their actions,” but she does not even attempt to support this argument. Resp. at 6. To

the contrary, the agencies have invited judicial review by moving for summary judgment based on

seven detailed declarations that describe their efforts to search for records responsive to Stevens’s

requests.

       Finally, Stevens says that courts should “not blindly afford deference to the agency

reasoning.” Resp. at 2. And of course it is true that courts should not blindly defer to agencies.

But in the FOIA context, agency declarations are afforded a presumption of good faith. Rubman

v. USCIS, 800 F.3d 381, 387 (7th Cir. 2015) (good faith “is presumed”). And the case Stevens

cites, City of Chicago v. ATF, 423, F.3d 777 (7th Cir. 2005), says nothing to the contrary. Indeed,

Stevens has pushed this argument before, and the Seventh Circuit has soundly rejected it. Stevens

v. State, 20 F.4th 337 342 (7th Cir. 2021) (“Stevens takes issue with the presumption of good faith

that agencies enjoy in FOIA litigation. But that rule is well settled.”).

       For the above reasons, the agencies’ searches were adequate. And reviewing the searches

agency-by-agency—the exercise conducted below—leads to the same conclusion.

       A.      ICE

       As explained in the agencies’ opening memorandum, ICE conducted adequate searches in

response to Stevens’s four FOIA requests. Mem. at 3-5. Stevens first responds that ICE searched

its “ERO records” but not its “OPLA records,” even though she had asked ICE to search “PLAnet.”

Resp. at 3. But Stevens did not actually ask ICE to search its “PLAnet” database; Stevens’s request

asked for screen shots of the databases that ICE consulted, which might or might not have included

the PLAnet database, depending on which databases ICE searched. Def. Resp. to PSAF ¶ 4.

       Second, Stevens says that ICE used certain databases to search for records responsive to

some of her requests but did not search the same databases for all of the requests. Resp. at 3-4.
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Specifically: (1) ICE searched “EARM” in response to the Valdez-Soto request but searched

EARM and two other databases in response to the Anfinson and Valencia requests; (2) ICE

searched “EAGLE” for the Valencia request but not for the other requests; and (3) ICE did not

search “ENFORCE” for the Valencia request. Resp. at 3-4. But nothing requires an agency to

search every existing database in response to every FOIA request; ICE directs the employees who

are tasked with searching for responsive records to search the systems that in their judgment are

reasonably likely to contain them. DSOF ¶ 5.

       B.      CBP and USCIS

       As explained in the agencies’ opening memorandum, CBP and USCIS conducted adequate

searches in responses to Stevens’s six FOIA requests to them. Mem. at 5-7. CBP and USCIS are

entitled to summary judgment on that basis alone. But CBP and USCIS also pointed out that

Stevens did not administratively appeal their responses to her FOIA requests, meaning that she did

not exhaust the administrative remedies that she needed to exhaust before filing suit. Mem. at 5-

7. In response, Stevens does not even attempt to claim that she administratively appealed. Pl.

Resp. to DSOF ¶¶ 35, 40. Instead, she responds that FOIA does not require a person to appeal

adverse responses before filing suit and that nothing in FOIA limits the court’s authority to hear a

case in which an administrative appeal was not exhausted. Resp. at 7. But the D.C. Circuit

squarely held otherwise, writing that “FOIA’s administrative scheme favors treating failure to

exhaust as a bar to judicial review.” Hidalgo v. FBI, 344 F.3d 1256, 1257-59 (D.C. Cir. 2003).

       Stevens next argues that a FOIA requester “constructively” exhausts administrative

remedies if the agency does not respond within the statutory time period. Resp. at 7. But courts

have rejected this argument as well, when—as here—the FOIA requester waits for the agency to

respond before filing suit. Nelson v. Army, 2013 WL 5376650, *5 (N.D. Ill. Sept. 25, 2013) (once

the agency responds, even if the response is late, FOIA “requires the completion of the
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administrative appeal process prior to judicial review”).

       Stevens also argues that exhaustion is not jurisdictional, which she says means that the

agencies needed to plead exhaustion as an affirmative defense. Resp. at 7. She says the agencies’

omission constitutes waiver or forfeiture and prejudiced her by not giving her notice of the issue.

Resp. at 8. But a delay in asserting an affirmative defense waives the defense “only if the plaintiff

was harmed as a result.” Curtis v. Timberlake, 436 F.3d 709, 711 (7th Cir. 2005). Here, there is

no conceivable harm: Stevens plainly knew that she needed to exhaust administrative remedies

because she pleaded that she had done so (Dkt. 8 ¶¶ 123, 135), and she knew that the agencies

denied it because they asserted as much in their answer to the complaint (Dkt. 9 ¶¶ 123, 135).

       Stevens also says that a district court may exercise discretion and excuse a non-

jurisdictional requirement “if the litigant’s interest in immediate judicial review outweigh the

government’s interests in the efficiency or administrative autonomy that the exhaustion doctrine

is designed to further.” Resp. at 8. But Stevens’s interest does not outweigh the agencies’ interests.

Exhaustion is not a “mere technicality”; it allows an agency “an opportunity to review its initial

determination, apply its expertise, correct any errors, and create an ample record in the process.”

Nat’l Sec. Counselors v. CIA, 931 F.Supp.2d 77, 99-100 (D.D.C. 2013). A court “must decline to

decide the merits of an unexhausted FOIA claim.” Id. (emphasis added). And even if Stevens’s

interests did outweigh the agencies’, summary judgment would still be warranted on the basis of

CBP’s and USCIS’s adequate search for responsive records. Mem. at 5-7.

       C.      EOIR

       As explained in the agencies’ opening memorandum, EOIR adequately responded to

Stevens’s FOIA request by extracting the data she requested. Mem. at 7-8. Stevens does not

challenge the adequacy of EOIR’s efforts in her response memorandum; she criticizes only EOIR’s

withholdings. Resp. at 11-12. EOIR is entitled to summary judgment on adequacy.
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         D.    Navy

         As explained in the agencies’ opening memorandum, the Navy adequately responded to

Stevens’s FOIA request. Mem. at 8-9. Stevens does not mention the Navy even once in her entire

response memorandum. Resp. at 1-16. The Navy is entitled to summary judgment.

         E.    USDA

         As explained in the agencies’ opening memorandum, USDA adequately searched for

records responsive to Stevens’s FOIA request. Mem. at 9-10. Stevens mentions USDA only once

in her entire response memorandum, and the mention is favorable, not critical. Resp. at 6 (arguing

that the agencies “except for the USDA” failed to take certain actions). She does bury one

argument in her response to DSOF ¶ 81, which again constitutes an improper effort to evade Local

Rule 7.1’s 15-page limit. And regardless, her speculation in her response to DSOF ¶ 81 that USDA

should have searched offices that purportedly maintain records from World War II does not defeat

the presumption of good faith. Bartko v. DOJ, 898 F.3d 51, 74 (D.C. Cir. 2018) (presumption

“cannot be rebutted by purely speculative claims about the existence and discoverability of other

documents”) (quotation omitted). USDA is entitled to summary judgment.

         F.    State

         As explained in the agencies’ opening memorandum, the State Department adequately

searched for records responsive to Stevens’s FOIA request. Mem. at 10-11. In response, Stevens

mentions the State Department only to argue that it should not have withheld some of the material

that it withheld from its production. Resp. at 14-15. The State Department is entitled to summary

judgment on the adequacy of its search.

II.      Proper Withholdings

         As explained in the agencies’ opening memorandum, the agencies properly withheld

information protected from disclosure by one or more FOIA exemptions. Mem. at 11-15; 5 U.S.C.
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§ 552(b); Stevens, 20 F.4th at 344 (agency need not release material that “falls under one of the

nine FOIA exemptions”).

       A.      Exemption 3

       As explained, USCIS withheld information under Exemption 3 to protect information

exempt from disclosure under Section 222(f) of the Immigration and Nationality Act, 8 U.S.C.

§ 1202(f), including information concerning the issuance or refusal of a permit to enter the United

States by the State Department (which is protected from disclosure by statute). Mem. at 12; 5

U.S.C. § 552(b)(3) (protecting information “specifically exempted” by statute). Stevens’s only

response is to complain that, although USCIS initially withheld information under Exemption 3

and later withdrew the exemption, USCIS has not actually re-processed and released those records.

Resp. at 9. She cites nothing for this proposition—not even her own declaration—so the assertion

violates Local Rule 56.1 and can be disregarded. LR 56.1(b)(3); Midwest Imports v. Coval, 71

F.3d 1311, 1317 (7th Cir. 1995) (LR 56.1 provides “the only acceptable means of disputing the

other party’s facts and of presenting additional facts”).

       B.      Exemption 4

       As explained, ICE withheld contract pricing information from an order for services and

supplies under Exemption 4, which protects commercial or financial information that is obtained

from a person and that is privileged or confidential. Mem. at 12; 5 U.S.C. § 552(b)(4) (protecting

information that is (a) commercial or financial, (b) obtained from a person, and (c) privileged or

confidential). Stevens responds that the records “pertain to finalized contract terms, not records

or information obtained from a person.” Resp. at 9-10. But she cites nothing for the proposition

that ICE did not obtain the finalized contract terms from someone outside ICE. She insists that

information “generated by the federal government itself” is not information “obtained from a

person” and is therefore excluded from Exemption 4. Resp. at 10. But the case she cites supports
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ICE’s withholding: in Board of Trade v. CFTC, 627 F.2d 392 (D.C. Cir. 1980), the court wrote

that the “obtained from a person” requirement limits the exemption to “data which have not been

generated within the Government.” Id. at 404. As explained, ICE withheld contract pricing

information, which by its nature is not information that ICE could have generated. DSOF ¶ 27.

       Stevens also says that ICE’s Vaughn index does not provide enough information for the

court to determine whether ICE properly applied Exemption 4. Resp. at 10. But the briefest glance

at ICE’s Vaughn index shows with specificity that ICE withheld “Discount terms, contract total,

contract grand total, unit price,” and other similar amounts. Def. Ex. A (Schurkamp Decl.)

Attachment N (Vaughn index) entry 2.

       Finally, Stevens says that “old prime labor contracts” are “neither confidential nor

privileged” because they “pertain to the historical working of the government.” Resp. at 10. She

again cites nothing for this proposition, and the standard for Exemption 4 is not whether

information is old or “historical”; the standard is whether the information is commercial or

financial, came from a person, and is privileged or confidential. Board of Trade, 627 F.2d at 403.

The information ICE withheld is all three. Mem. at 12.

       C.      Exemption 5

       As explained, USCIS withheld under Exemption 5 legal advice that an ICE attorney

provided to help determine a citizenship issue, the disclosure of which would reveal the attorney’s

reasoning and litigation strategy. Mem. at 12-13; 5 U.S.C. § 552(b)(5) (protecting “inter-agency

or intra-agency memorandums or letters that would not be available by law to a party other than

an agency in litigation with an agency”). Stevens says that, because the text of Exemption 5 refers

to “memorandums or letters,” the exemption cannot apply to other forms of communication. Resp.

at 10. No court has interpreted Exemption 5 in such a limited manner, and the case Stevens cites,

Rojas v. FAA, 927 F.3d 1046 (9th Cir. 2019), does not stand for that proposition, either. Far from
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having anything to say about emails, Rojas addresses whether communications with third-party

consultants can constitute “intra-agency” communications under Exemption 5. Id. at 1055.

Indeed, the Rojas court seems to have presumed that Exemption 5 applies to records beyond

memoranda and letters, writing: “By its plain terms, Exemption 5 applies only to records that the

government creates and retains.” Id. (emphasis added). Other courts have done the same.

Carlborg v. Navy, 2020 U.S. Dist. LEXIS 142543, *23-24, 2020 WL 3583270 (D.D.C. Aug. 10,

2020) (“Because these emails were both ‘predecisional’ and ‘deliberative,’ the Navy properly

invoked FOIA Exemption 5 to withhold them.”); Energy & Env’t Legal Inst. v. FERC, 72

F.Supp.3d 241, 246 (D.D.C. 2014) (“FERC’s redactions from the Bay-Pederson emails are

justified by Exemption 5.”) (emphases added).

       Moreover, on en banc review, the Ninth Circuit in Rojas clarified that, despite the “most

natural meaning” of the phrase, “we think context and purpose suggest that Congress had in mind

a somewhat broader understanding of ‘intra-agency.’” 989 F.3d 666, 672-73 (9th Cir. 2021). The

court noted that, on the plaintiff’s reading of Exemption 5, communications between an agency

and outside counsel would be subject to public disclosure under FOIA, an outcome that “seems

doubtful.” Id. at 674. The analogy holds here: it is hard to imagine that Congress would intend a

privileged communication to be subject to public disclosure simply because it takes the form of an

email rather than a memorandum or letter.

       Stevens also says that the deliberative process privilege protects records that are both pre-

decisional and deliberative, and that none of the records USCIS withheld were pre-decisional

because they do not pertain to the formation of agency policy. Resp. at 11. But USCIS withheld

legal advice, which is also protected by the attorney-client and attorney work product privileges.

DSOF ¶ 58. Stevens says that USCIS’s use of the attorney-client privilege is “misplaced” because

rendering legal advice was not the primary purpose of the communications and because the
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communications were not kept confidential. Resp. at 11. She cites “Dkt. 31 at PAGE ID 312,”

which seems to be a reference to entries 597-99 of USCIS’s Vaughn index, which shows

information falling squarely within the privilege: legal advice that an ICE attorney provided to

help determine an individual’s citizenship, the disclosure of which would reveal the attorney’s

litigation strategy. Def. Ex. C (Munita Decl.) at Vaughn index entries 597-99.

       Stevens also complains about EOIR “bond notes” not being deliberative (Resp. at 11), but

EOIR’s Vaughn index could not have more clearly explained that the bond notes column, when

used, can contain “pre-decisional/deliberative notes and/or PII [personally identifiable

information] at his or her discretion.” Ex. D (O’Hara Decl.) at Vaughn index entry 2542.

       Finally, Stevens complains that ICE’s Vaughn index descriptions are “too vague” and that

the withheld communications appear to be “factual narratives” (Resp. at 11-12), but ICE did not

withhold any information under Exemption 5. Def. Ex. A (Schurkamp Decl.), Attachment N

(Vaughn index).

       D.     Exemption 6

       As explained, ICE and USCIS withheld information under Exemption 6 to protect the

names, identification codes, phone numbers, and signatures of local law enforcement officers and

other government employees, as well as personally identifiable information of third parties. Mem.

at 13-14; 5 U.S.C. § 552(b)(6) (protecting information when its release would be a “clearly

unwarranted invasion of personal privacy”); Lepelletier v. FDIC, 164 F.3d 37, 46 (D.C. Cir. 1999)

(courts broadly interpret Exemption 6 to encompass all information applying to an individual).

       Stevens says that EOIR’s Vaughn index “asserts in conclusory fashion that it invoked

Exemption 6 for “personal privacy” without describing the nature of the personal information.

Resp. at 12. The confusion stems from the fact that the text in one box of EOIR’s Vaughn index

was not retained in full when the index was converted into a PDF. The complete Vaughn index
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explains that EOIR withheld “Alien names, Alien numbers, phone numbers and information of

third parties.” Def. Ex. K (complete EOIR Vaughn index).

        Stevens says that ICE improperly withheld the domain portion of email addresses, the

names of email recipients, and the names of government employees, which she says are not

protected by Exemption 6. Resp. at 12. She does not even attempt to point the court toward which

records she is talking about. And she offers no authority for the proposition that these withholdings

are improper: she merely cites cases standing for the proposition that privacy concerns are not

implicated by the release of lists of government employees’ names and duty stations. Resp. at 12-

13. But the notion that privacy concerns are not implicated by the release of a list of names of

government employees says nothing about the privacy concerns that may arise when releasing the

identity of a government employee who took a specific action, which is the issue here. Stevens

even concedes that “lower level officials” generally have a “stronger interest in personal privacy”

than senior officials. Resp. at 13. And she does not even attempt to argue that ICE redacted names

of high-level officials.

        E.      Exemption 7

        As explained, ICE and USCIS withheld information under Exemption 7(C) to protect the

names and other personal information of government employees and third parties. Mem. at 14; 5

U.S.C. § 552(b)(7)(C) (protecting “records or information compiled for law enforcement

purposes,” if disclosure “could reasonably be expected to constitute an unwarranted invasion of

personal privacy”). ICE, USCIS, and the State Department also withheld information under

Exemption 7 to protect law enforcement techniques and methods for investigating fraud. Mem. at

14-15; 5 U.S.C. § 552(b)(7)(E) (protecting records where disclosure “would disclose techniques

and procedures for law enforcement investigations or prosecutions, or would disclosure guidelines

for law enforcement investigations or prosecutions if such disclosure could reasonably be expected
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to risk circumvention of the law”).

       Stevens complains that the State Department is not a law enforcement agency, which she

says means “its decision to invoke Exemption 7 is not entitled to deference.” Resp. at 14. But the

Department’s Bureau of Consular Affairs actually is involved in enforcement of the Immigration

and Nationality Act (Def. Ex. G (Weetman Decl.) ¶ 26), and Stevens does not even attempt to

quibble with the Department’s facially reasonable concern that disclosing the information the it

considers when investigating passport fraud could lead to circumvention of the law by allowing

passport applicants to more easily evade the its enforcement efforts. Mem. at 15.

       Stevens also says that ICE applied Exemption 7(E) “in a categorical” fashion without

connecting the redacted information “to a specific incident” or asserting that the techniques at issue

are “still in use.” Resp. at 15. But ICE explained that it withheld law-enforcement-sensitive

“numbers and codes” that if disclosed could be used by someone seeking improper access to law

enforcement databases (DSOF ¶ 29), and Stevens admits that that is what ICE withheld (Pl. Resp.

to DSOF ¶ 29). See Def. Ex. A (Schurkamp Decl.) at Attachment N (Vaughn index) at entry 1

(withholding “ICE case numbers and URLs” under Exemption 7(E)).

       Stevens also complains that the State Department did not submit a Vaughn index. Resp. at

15. But it is perfectly proper for an agency to justify its withholdings using a declaration, as the

State Department did here. DSOF ¶¶ 94-95; Stevens v. BBG, 2021 U.S. Dist. LEXIS 60846 (N.D.

Ill. Mar. 30, 2021) (“Although useful, a Vaughn index is not the only way the government can

satisfy its burden. A sufficiently detailed affidavit, for example, can serve the same function.”).

Stevens also says that the State Department’s declaration refers to pages of documents but that she

never received a production from the State Department. Resp. at 15. The claim is baseless: the

Department emailed its production on September 7, 2021, to both Stevens and her counsel. Def.

Resp. to PSAF ¶ 16.
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III.   Segregation

       Stevens says that, except for USCIS, the agencies have not averred that the records they

withheld contained no non-exempt material that could have been segregated and released. Resp.

at 15. But a glance at what the agencies withheld shows that they did segregate non-exempt

material where possible. For example, ICE redacted names, addresses, and telephone numbers,

producing the material surrounding that information. Def. Ex. A (Schurkamp Decl.), Attachment

N (Vaughn index) at entry 1. EOIR withheld only certain data fields from the spreadsheets it

produced. Def. Ex. K (complete EOIR Vaughn index). The extremely limited amount of material

that the State Department withheld can be seen simply by looking at its production. Def. Ex. J

(Sept. 7, 2021 State production) (redactions in white made by the Department before producing;

redactions in black made by the undersigned AUSA before e-filing). And CBP, the Navy, and

USDA did not withhold anything. DSOF ¶¶ 34, 39, 77, 82-84.

                                         Conclusion

       For the above reasons, and for the reasons in the agencies’ opening memorandum,

summary judgment should be granted in agencies’ favor.

                                           Respectfully submitted,

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